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                       4 Attorneys for Defendant
                           DAVID CHAVEZ JR.
                       5

                       6                       UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF CALIFORNIA
                       7                              FRESNO DIVISION

                       8 UNITED STATES OF AMERICA,

                       9               Plaintiff,               CR 07-192- AWI

                      10         v.                             STIPULATION AND ORDER MODIFYING
                                                                DEFENDANT’S CONDITIONS OF
                      11 DAVID CHAVEZ JR.,                      PRETRIAL RELEASE

                      12               Defendant.
                                                       /
                      13

                      14         THE PARTIES HEREBY STIPULATE AND AGREE that the conditions

                      15 of pretrial release for defendant DAVID CHAVEZ, JR. may be

                      16 modified as follows:

                      17         Defendant shall be allowed to ACT AS THE FULL TIME

                      18 CARETAKER FOR HIS 18 MONTH OLD CHILD, IN PLACE AND INSTEAD OF

                      19 MAINTAINING FULL-TIME SCHOOLING OR SEEKING EMPLOYMENT; MR.

                      20 CHAVEZ MAY STILL OPT TO SEEK EMPLOYMENT OR FURTHER EDUCATION IF

                      21 HIS CHILD-CARE OBLIGATIONS CHANGE WHILE ON PRETRIAL RELEASE.

                      22         This is due to his wife’s full-time employment and the

                      23 lack of any alternative caretaker for the child.

                      24         All other terms and conditions shall remain in full

                      25 effect.      Pretrial Services Officer Dan Stark has been consulted

                      26 and has agreed to this modification of pretrial release.

                      27
LAW OFFICES
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SAN FRANCISCO
                      28    /s/ EAN VIZZI                        /s/ KATHLEEN SERVATIUS
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                           DAVID CHAVEZ, JR.
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                       1                                     ORDER

                       2 IT IS SO ORDERED.

                       3
                           Dated:       January 12, 2011
                       4 0m8i78                       CHIEF UNITED STATES DISTRICT JUDGE
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